                        N THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TENNESSEE
                                KNOXVILLE DIVISION

  BITUMINOUS CASUALTY                )
  CORPORATION,                       )
                                     )
        Plaintiff,                   )
                                     )
  v.                                 )                     Case No. 3:09-cv-00060
                                     )                              (VARLAN/SHIRLEY)
  WALDEN RESOURCES, LLC, AMWES       )
  EXPLORATION, LLC, DANIEL POTTS,    )
  ZTX DRILLING, LLC, JONATHAN D.     )
  VANN, LEXINGTON INSURANCE          )
  COMPANY, WILD WELL CONTROL, INC., )
  MARLOW VOLUNTEER FIRE              )
  DEPARTMENT, SUPERIOR WELL          )
  SERVICES, INC., GRIFFITH SERVICES, )
  LLC, BLOWOUT TOOLS, INC.,          )
  MILLER PETROLEUM, INC., B. J.      )
  SERVICES COMPANY and MICHAEL       )
  TRUMP,                             )
                                     )
        Defendants.                  )

                         AGREED ORDER OF DISMISSAL AS TO
                             DEFENDANT DANIEL POTTS

         It appearing to the Court from the signatures hereto that:

         1.     As set forth in the complaint for declaratory judgment, interpleader and

  permanent injunctive relief filed in this action, Daniel Potts was joined pursuant to 28

  U.S.C. § 2201, Rule 57 of the Federal Rules of Civil Procedure, 28 U.S.C. § 1335 and

  Rule 22 of the Federal Rules of Civil Procedure, in that Bituminous Casualty Corporation

  felt that pursuant to the Declaratory Judgment Act and Federal Interpleader Act Daniel

  Potts might be affected by the declarations made by this Honorable Court, and based

  upon the desire of Bituminous Casualty Corporation that Daniel Potts be bound by the

  declarations made by this Honorable Court as to the issues raised in this action;




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          2.      Daniel Potts has reviewed the complaint for declaratory judgment,

  interpleader and permanent injunctive relief, and the issues raised therein;

          3.      Daniel Potts affirmatively states that all matters in controversy involving him

  have been settled, that he asserts no interest in the remaining determinations requested in

  the complaint for declaratory judgment, interpleader and permanent injunctive relief, and

  that he agrees that he will not contest the declarations sought by Bituminous Casualty

  Corporation in the complaint for declaratory judgment, interpleader and permanent

  injunctive relief; and

          4.      Consequently, Bituminous Casualty Corporation and Daniel Potts have

  agreed that Daniel Potts may be dismissed from this case without prejudice and need not

  participate further in this litigation.

          Based upon the representations contained herein, this Court dismisses Daniel Potts

  from this matter upon the representations that he will claim no interest under the

  Declaratory Judgment Act and Federal Interpleader Act in the outcome of the

  determinations sought by Bituminous Casualty Corporation in the complaint for

  declaratory judgment, interpleader and permanent injunctive relief.

         ENTERED this 29th day of June, 2010.




                                            s/ Thomas A. Varlan
                                            UNITED STATES DISTRICT JUDGE




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  APPROVED FOR ENTRY:



  _s/ Parks T. Chastain_____________________
  PARKS T. CHASTAIN
  Registration No. 13744
  BENJAMIN J. MILLER
  Registration No. 025575
  Attorneys for Plaintiff, Bituminous Casualty Corporation

  BREWER, KRAUSE, BROOKS,
  CHASTAIN & BURROW, PLLC
  P. O. Box 23890
  Nashville, TN 37202-3890
  (615) 256-8787



  _s/George Buxton, III__ _____________________
  GEORGE BUXTON, III
  Registration No. 800
  Attorney for Defendant, Walden Resources, LLC and Daniel Potts

  BUXTON LAW FIRM
  31 E. Tennessee Avenue
  Oak Ridge, TN 37830
  (865) 482-4920




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